     Case 2:09-cr-00510-PMP-RJJ             Document 53       Filed 07/08/10     Page 1 of 3



 1

 2
 3                              UNITED STATES DISTRICT COURT

 4                                        DISTRICT OF NEVADA

 5

 6   UNITED STATES OF AMERICA,                       )
                                                     )
 7                         Plaintiff,                )   Case No. 2:09-CR-0510-PMP-RJJ
                                                     )
 8   vs                                              )   EX PARTE MOTION FOR ORDER
                                                     )   DIRECTING THE U.S. MARSHAL
 9   VENIAMIN LAOUGINE, et al.                       )   TO ARRANGE TRANSPORTATION
                                                     )   TOHEARING
10                         Defendant.                )

11
      ---------------------------)
            COMES NOW defendant,           VENIAMIN LAOUGINE , by and through counsel,         MACE
12
     J. YAMPOLSKY, ESQ. , and moves this Honorable Court for an order directing the United
13
     States Marshal to arrange for the defendant's non-custodial transportation from West Bloomfield,
14
     Michigan to Las Vegas, Nevada on or before Monday, July 12,2010 at the hour of9:30 A.M. for
15
     the purpose of appearing before MAGISTRATE JOHNSTON FOR EVIDENTIARY HEARING.
16
            This request is limited to payment of one-way transportation to the above-referenced court
17
     appearance only.
18
            DATED this _8th __          day of July, 2010.
19

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22                                                           Counsel for Defendant

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     Case 2:09-cr-00510-PMP-RJJ                     Document 53      Filed 07/08/10      Page 2 of 3



 1                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                        EX PARTE MOTION FOR ORDER
 2                            DIRECTING PAYMENT OF TRANSPORTATION EXPENSES

 3                 18 U.S.C. § 4285 authorizes the court to direct the U.S. Marshals Service to arrange for the

 4 means of noncustodial transportation               of released indigent defendants to the place where their

 5 appearance in court is required.

 6                Pursuant to 18 U.S.C. § 4285, the defendant will be financially unable to travel from his/her

 7 home in West Bloomfield, Michigan to Las Vegas, Nevada unless this court directs the United States

 8 Marshal to pay his/her transportation to the hearing.

 9                It has been determined by this court that the defendant qualifies for the appointment of counsel

10 pursuant to 18 U.S.c. 3006A.

11
     Ir--------------------------------------------------------------------
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     Ir--------------------------------------------------------------------
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     Ir--------------------------------------------------------------------
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     Ir--------------------------------------------------------------------
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     Ir--------------------------------------------------------------------
16                              Pursuant to the District Court's memorandum order dated January 22, 1986, the

17 following representations are made: (1) that the United States Attorney's office has not been provided

18 with a copy of this motion; and (2) that this matter is not the proper subject of a stipulation.
19                DATED this --':!.8t~h,---_ day of July, 2010.
20                                                         Respectfully submitted,
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                                                           Counsel for Defendant
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      Ex Parte Trans set I 3/13n002                           2
          Case 2:09-cr-00510-PMP-RJJ                     Document 53      Filed 07/08/10    Page 3 of 3



      1
                                                 UNITED STATES DISTRICT        COURT
      2
                                                        DISTRICT      OF NEVADA
      3

      4   UNITED STATES OF AMERICA,                                )
                                                                   )
      5                                    Plaintiff,              ) CASE NUMBER 2:09-CR-0510-PMP-RJJ
                                                                   )
      6 v.                                                         )    ORDER DIRECTING U.S. MARSHAL
                                                                   )    TO ARRANGE TRANSPORTATION
      7    VENIAMIN LAOUGINE, et al.                               )    TO HEARING
                                                                 )
      8                                    Defendant.            )

      9   ----------------------------)
                         Having reviewed the defendant's Ex Parte Motion for Order Directing the U.S. Marshal to
     10
          Arrange Transportation to Hearing, and good cause appearing therefor:
     11
                         IT IS HEREBY ORDERED that the United States Marshal shall arrange one-way
     12
          transportation for defendant, VENIAMIN LAOUGINE , to travel from WEST BLOOMFIELD,
     13
          MICHIGAN to LAS VEGAS, NEVADA                        on or before JULY 12,2010 at the hour of 9:30 A.M.
     14
          for the purposes of appearing before JUDGE JOHNSTON for EVIDENTIARY HEARING.
     15
                         This order is limited to payment of one-way transportation to the above-referenced court
     16
          appearance only.
     17                                                       July
                                           8th
                         DATED this                 day of ________               , 2010.
     18

     19

     20                                                            U.S. XXXXXXX
                                                                        DISTRICT / MAGISTRATE     JUDGE
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          Ex Parte Trans set I 3/1312002                              3
